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                           Exhibit C Pg 1 of 24



                               EXHIBIT C
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                   INDEX NO. 900010/2019
            20-12345-mg
NYSCEF DOC. NO. 150              Doc 2259-3         Filed 07/05/23 Entered 07/05/23 11:32:38
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                                                                                              NYSCEF: 05/29/2020
                                                    Exhibit C Pg 2 of 24




         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU

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         ARK3 DOE,                              :
                                                :
                                                :
                      Plaintiff,                :
                                                :
                      v.                        :
                                                                               Index No. 900010/2019
                                                :
                                                :
         DIOCESE OF ROCKVILLE CENTRE AKA        :
         THE ROMAN CATHOLIC DIOCESE OF          :
         ROCKVILLE CENTRE, NEW YORK; ST.        :
         HUGH OF LINCOLN AKA ST. HUGH OF        :
         LINCOLN ROMAN CATHOLIC CHURCH AKA :
         ST. HUGH'S AND DOES 1-5 WHO IDENTITIES :
         ARE UNKNOWN TO PLAINTIFF,              :
                                                :
                      Defendants.               :

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                                          AFFIDAVIT OF CHARLES MOORE




                                                                                                       MOORE
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                                                             1 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                          INDEX NO. 900010/2019
             20-12345-mg
NYSCEF DOC. NO. 150              Doc 2259-3      Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                   RECEIVEDExhibit
                                                                                            NYSCEF: 05/29/2020
                                                 Exhibit C Pg 3 of 24




                            I, Charles Moore, state under penalty of perjury that:

                            1.      I am a Managing Director within the Restructuring & Turnaround division

            of Alvarez & Marsal North America, LLC ("A&M"), a professional services firm specializing in

            turnaround management and performance improvement. I serve as an advisor to The Roman

            Catholic Diocese of Rockville Centre, New York (the "Diocese"). I have over twenty-five years

            of experience in operational and financial restructuring, turnaround consulting, performance

            improvement, and interim management. As the lead Managing Director at A&M responsible for

            this engagement, I have become familiar with the Diocese's day-to-day operations, financial

            affairs, and books and records through review of certain financial documents, discussions with

            Diocese management, and discussions with the Diocese's other professionals.

                            2.      I submit this affidavit (the "Affidavit") in support of the Diocese's motion

            for a stay pending appeal from the Court's order on the Diocese's motion to dismiss. I provide

            here background information about the structure and finances of the Diocese, including its

            charitable missions, its current resources, and its obligations, especially as a result of litigation

            filed pursuant to New York Senate Bill S.2440, known as the Child Victims Act (the "CVA"),

            and, most recently, the COVID-19 pandemic.

                            3.      Part I of this Affidavit provides background regarding the Diocese; its

            mission; its charitable, educational, and religious-service affiliates; and its Parishes and their

            schools. Part I also summarizes the sources and the decline of the Diocese's revenues, even

            before the COVID-19 pandemic and the litigation against the Diocese pursuant to the CVA, and

            the Diocese' s recent efforts to reduce its costs. Part II sets forth the Diocese's efforts, as part of

            its mission, relating to reconciliation and compensation of those alleging abuse, including its

            Independent Reconciliation and Compensation Program ("IRCP"). Through the IRCP, the




                                                          2 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                          INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150              Doc 2259-3       Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                     RECEIVEDExhibit
                                                                                              NYSCEF: 05/29/2020
                                                  Exhibit C Pg 4 of 24




            Diocese has paid out through March 2020 over $57 million to abuse survivors, satisfying every

            eligibility determination that the Program Administrators have made and that the claimants have

            accepted. The Diocese's IRCP has continued during this CVA litigation, and the Diocese

            currently plans to have it remain open while it remains financially feasible.

                            4.      Part Ill describes the CVA litigation against the Diocese, related expenses

            (especially in connection with the pre-trial proceedings), and potential liabilities. In contrast to

            the IRCP, where the Diocese has been paying in full all of the awards, the Diocese's potential

            exposure in the approximately 94 CVA cases pending against it - the vast majority of which seek

            both compensatory and punitive damages, many in the multiple millions of dollars - far exceeds

            the Diocese's assets, excluding insurance. Part III also explains that the Diocese's insurers have

            not, to date, provided coverage or reimbursement of significant expenses relating to the CVA

            litigation, nor, in any event, can insurers provide coverage for any punitive damages

            determinations. Part IV describes the further detrimental effect on the Diocese's revenues due to

            the COVID-19 pandemic, which has caused a precipitous drop in collections at the Diocese's

            parishes that, in turn, has adversely impacted the Diocese's financial condition.

                            5.      Part V summarizes the Diocese's assets, revenues, potential liabilities, and

            the current financial situation, again excluding insurance coverage for the CVA lawsuits. This

            financial data shows that, absent insurance coverage (which, again, is unavailable for any

            punitive damages determination), the Diocese' s potential exposure in the CVA litigation brought

            against it far outweighs the Diocese's assets, and that the Diocese will likely be unable to satisfy

            an appreciable number of adverse judgments against it if the lawsuits were to proceed through

            trial. In light of this current financial situation and the Diocese's current situation with its

            insurers, it is not practicable, nor would it be consistent with the Diocese's commitment to




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                                                           3 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                           INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150               Doc 2259-3      Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                     RECEIVEDExhibit
                                                                                              NYSCEF: 05/29/2020
                                                  Exhibit C Pg 5 of 24




            reconcile with and provide fair compensation to all abuse survivors-and not just those who win

            the race to a judgment-for the Diocese to continue litigating through discovery and to judgment

            all of the CVA cases brought against it. The financial pressure that the CVA litigation creates

            and the drain on the Diocese's resources from it is particularly onerous in light of the

            simultaneous decimating effect on the Diocese's finances due to the COVID-1 9 pandemic.

                             6.      Absent a stay of these proceedings pending the Diocese's appeal from the

            Court's order on the motions to dismiss, the Diocese's practical reality will be that it will have to

            end the IRCP and file for protection under Chapter 11 of the U.S. Bankruptcy Code.

            I.     THE DIOCESE'S ORGANIZATION, SOURCES OF REVENUE AND SUPPORT
                   OF CHARITABLE MISSIONS

                   A.        The Organization of the Diocese

                             7.      I understand that there are around 1.3 billion baptized Catholics

            worldwide, of whom around 70 million reside in the United States. As a general matter, the

            Catholic community is composed of the ordained clergy (i.e., bishops, priests, and deacons) and

            the laity. The Church I operates through dioceses, each working within a specific geography,

            under the leadership of archbishops or bishops responsible to the Holy See in the Vatican. In

            turn, a diocese supports and serves, among others: (i) local churches, known as parishes, and

            parish schools;2 and (ii) other charitable, educational, and religious-service affiliates that are

            critical to the ministry of the Church within that diocese and that are supported and often

            administered by the diocese.




                    1
                      As used in this Affidavit, the term "Church" refers to the Roman Catholic Church
            seated in the Vatican and headed by Pope Francis.
                   2
                        Each parish and parish school is generally supervised by a pastor.


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                                                           4 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                        INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150              Doc 2259-3      Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                    RECEIVEDExhibit
                                                                                             NYSCEF: 05/29/2020
                                                 Exhibit C Pg 6 of 24




                           8.      The Diocese is the seat of the Roman Catholic Church on Long Island,

            responsible to the Holy See in the Vatican.3 The Diocese was established by the Vatican in 1957

            from territory that was formerly part of the Diocese of Brooklyn, and it was incorporated as a

            religious corporation in I 958. See 1958 N.Y. SESS. LAWS Ch. 70 (l 958), § I. Under the New

            York religious incorporation statute, the purpose of the Diocesan corporation is "to support,

            maintain, aid, advise and cooperate with any charitable, religious, benevolent, recreational,

            welfare or educational corporation, association, institution, committee, agency, or activity ...

            within the state of New York or elsewhere ...." Id. § 4.4 The statute provides that " [t]he

            bishop, vicar-general and chancellor of the [Diocese] ... shall, by virtue of their offices, be the

            members and trustees of the corporation." Id. § 8.

                           9.      The Diocese is one of eight Roman Catholic dioceses in the State of New

            York, including the Archdiocese of New York. The Diocese of Rockville Centre's total Catholic

            population is approximately 1.4 million, roughly half of Long Island's total population of

            3.0 million. The Diocese of Rockville Centre is the eighth largest diocese in the United States

            when measured by the number of baptized Catholics.

                           10.     There are 133 parishes in the Diocese and one campus parish (each a

            "Parish"). The Diocese's administrative offices are in Rockville Centre, New York. The



                   3
                      The Diocese serves the entirety of Suffolk and Nassau counties, excepting Fishers
            Island, which is a part of the Diocese of Norwich. The area served by the Diocese is referred to
            herein as Long Island.
                   4
                      Pursuant to the statute, the Diocese has the power to take and hold, by bequest, devise,
            gift, purchase or lease, either absolutely or in trust for any of its purposes, any property real or
            personal, without limitation as to amount or value; to sell, mortgage, lease or otherwise convey
            or transfer such property, and to invest and reinvest any principal and income and to deal with,
            use, apply and expend any property and the income derived therefrom in such a manner as in the
            judgment of its trustees will best promote its objects. 1958 N.Y. SESS. LAWS Ch. 70 (1958), § 5.




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                                                          5 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                          INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150               Doc 2259-3     Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                    RECEIVEDExhibit
                                                                                             NYSCEF: 05/29/2020
                                                 Exhibit C Pg 7 of 24




            parishes in the Diocese are separate religious corporations, formed under Article 5 of the New

            York's Religious Corporations Law, N.Y. RELIG. CORP.§ 90. Parishes own and operate 41

            elementary schools and two high schools in the Diocese. There are also four private, Catholic

            elementary schools and five private, Catholic high schools operating in the Diocese. The

            Diocese does not own or operate any of the Parish schools or private Catholic schools.

                            11.     The Diocese also has a number of charitable, educational and other

            religious-service affiliates. I understand each of these affiliates is a separate legal entity, which

            is generally organized as a not-for-profit charitable member corporation, that has its own board

            and governance. Each has a role in furthering the ministry of the Church and serving the

            Parishes and the communities of Long Island. The Diocese has recurring outstanding obligations

            to several of them in aid of their charitable mission, as detailed below.

                   B.      The Diocese's Revenues And Its Expenditures on Charitable Missions

                            12.     The Diocese provides centralized human resources, accounting, and

            financial management services to Diocesan affiliates in support of their religious, educational,

            and charitable missions. The Diocese historically has also made significant financial

            contributions to several of its affiliates. However, even prior to the recent pandemic, these

            contributions have been eliminated or significantly curtailed in light of the Diocese's declining

            financial health.

                            13.     The Diocese's recurring revenues are limited and largely dependent on

            donors and parishioners. They are also unpredictable and have more recently been declining due

            to the impacts on the Diocese from the COVID-19 pandemic (addressed in Part IV, below). The

            Diocese's recurring revenues are: (i) a share of the weekly offertory made by the faithful at

            every Parish; (ii) other bequests and donor-directed gifts; (iii) investment income; (iv) revenue

            for administrative services provided to Diocesan affiliates, including the parishes; and (v)


                                                              5


                                                          6 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                        INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150              Doc 2259-3     Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                   RECEIVEDExhibit
                                                                                            NYSCEF: 05/29/2020
                                                Exhibit C Pg 8 of 24




            revenues from the Diocese's sublease to third parties of a portion of the spectrum within its

            educational broadcast license.5

                           14.     The Diocese uses revenues received from the Parishes, investment

            income, and income from its licensing of certain spectrum, to provide ongoing, ordinary-course

            administrative support and services to the Parishes, their schools and the affiliated charitable,

            educational and service organizations.

                           15.     Separate from the principal pastoral and temporal functions of the Diocese

            is the Catholic Ministries Appeal or "CMA," an annual campaign to support particular charitable

            and educational missions undertaken by entities that are sponsored by and/or affiliated with the

            Diocese. For the CMA and other non-offertory donations, the Diocese asks its donors to provide

            these designated revenues to fund areas of particular importance to the mission of the Church.

            These areas of particular importance include the provision of religious education for thousands

            of students on Long Island; affordable and safe housing for seniors, veterans and adults with

            mental and physical disabilities; food programs for seniors, low-income families and women and

            their children; youth, campus and young adult ministries; priests' , deacons' and lay leaders'

            education and formation; faith formation, including baptismal preparation, pre-Cana and RCIA

            programs; hospital ministry to those who are ill and their families; prison ministry; substance

            abuse services and day treatment programs; and Catholic Diversity initiatives. Many of these

            charitable services are the only services reasonably accessible and effective in those Long Island

            communities, offering help and creating hope for self-reliance for Catholics and non-Catholics

            alike, whether resident, immigrant or temporarily present.


                   5
                      The Diocese also assists Parishes and the furtherance of Catholic education by acting as
            an agent to collect a "non-school assessment" from Parishes that do not have schools. The
            money collected is used to fund schools that are not tied to a particular parish.



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                                                         7 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                        INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150              Doc 2259-3     Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                   RECEIVEDExhibit
                                                                                            NYSCEF: 05/29/2020
                                                Exhibit C Pg 9 of 24




                    C.     The Diocese's Cost-Cutting Measures

                           16.     In 2019, the Diocese undertook a strategic review, with A&M's

            assistance, of its operations and considered a series of cost-savings initiatives. Financial

             information of the Diocese presented herein excludes CMA and the Protected Selflnsurance

            Program ("PSIP"), a captive insurance division of the Diocese that provides certain insurance

            coverage for the Diocese. The use of CMA funds is restricted to the purposes for which the

            funds are raised. To the extent that the Diocese provides services to a CMA-sponsored program,

            such costs are reimbursed by the CMA and represent revenue to the Diocese.

                           17.     The Diocese has considered and implemented many cost-saving initiatives

            pursuant to this review of its operations, resulting in an average annual savings of $2. 7 million.

            These initiatives include: (i) eliminating financial support to a retirement home for priests and

            transitioning that financial support to the Priest Health and Welfare plan; (ii) eliminating

            subsidies to the Department of Education; and (iii) reducing the subsidy given to Catholic Faith

            Network, the Diocesan affiliate that maintains a Catholic television station for televised mass and

            other Catholic programming.

                           18.     CMA has also reduced the scope of several of its programs in an effort to

            reduce costs. These efforts have resulted in annual savings of $1. 1 million and include: (i)

            reducing annual contributions to Catholic Charities, which implements many of the programs

            outlined in paragraph 15, above; (ii) eliminating all subsidies to Tomorrow's Hope Foundation, a

            non-profit organization that provides student scholarships and program funding; and (iii)

            eliminating subsidies to Catholic high schools.

                           19.     Despite already implementing significant cost reduction measures, the

            Diocese's net assets are anticipated to further deteriorate in light of the impact of the COVID-1 9




                                                              7


                                                         8 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                        INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150               Doc 2259-3    Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                   RECEIVEDExhibit
                                                                                            NYSCEF: 05/29/2020
                                                Exhibit C Pg 10 of 24




            pandemic and the ongoing and increasing expenses of the CVA litigation, addressed in more

            detail below.

            II.    THE DIOCESE'S MISSION TO EFFECT RECONCILIATION AND
                   COMPENSATION

                   A.       Past Tragedies: Zero Tolerance, Vigilant Child Protection, and
                            Reconciliation and Healing

                            20.     In keeping with the Diocese's mission, including "embracing Christ' s

            healing power and the Mission of Mercy of the Catholic Church," the Diocese has undertaken a

            review of its policies relating to safety of children and instituted new programs as part of its

            "commitment and vigilance to the protection of children in our Church and in society." See

            https://www.drvc.org/statement-hidden-disgrace-ii-report/.

                            21.     In 2003, while under the leadership of Bishop Murphy, the Diocese

            created the Office for the Protection of Children and Young People ("Office for the Protection of

            Children") and established standards and protocols to ensure that the most vulnerable

            parishioners would be safe. See drvc.org/efforts-to-protect-children-and-young-people/. In

            furtherance of this goal, the Office for the Protection of Children created a Diocesan Child

            Protection Policy which establishes a procedure for screening individuals to ensure that they do

            not pose a risk of harm to children, and protocols for reporting and investigating alleged

            incidents of abuse. See https://www.drvc.org/wp-content/uploads/2018/ 12/

            child_protection_manual.pdf. As Bishop Barres has publicly stated, the Office for the Protection

            of Children has worked to "put[] the safety and well-being of children first" and it "seeks to

            reach out to and support victims and survivors of abuse." See https://d2y l pz2y630308.

            cloudfront.net/22803/documents/2019/8/CVA%20letter--English-2.pdf.

                            22.     Upon his arrival as the leader of the Diocese in February 2017, Bishop

            Barres took further steps to assure that the Diocese's Child Protection Policy was effective and


                                                              8


                                                          9 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                          INDEX NO. 900010/2019
             20-12345-mg
NYSCEF DOC. NO. 150              Doc 2259-3        Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                     RECEIVEDExhibit
                                                                                              NYSCEF: 05/29/2020
                                                   Exhibit C Pg 11 of 24




            enforced. Bishop Barres reiterated the Diocesan commitment to zero tolerance for sexual

            misconduct and adherence to the Diocese's Child Protection Policy. That Policy outlines

            standards to be met by all clergy, employees, and volunteers in the Diocese, which include

            required background screening executed by an expert outside firm, specific and detailed Codes

            of Behavioral Conduct, and participation in Safe Environment educational programs. In addition

            to programs for adults, the Diocese provides Safe Environment programs to youth participating

            in Faith Formation programs in each parish or attending Diocesan schools.

                           23.     Bishop Barres further sought to enhance the Diocesan Review Board,

            which was established under the Diocese's Child Protection Policy and is responsible for

            investigating and assessing allegations of sexual abuse of minors and offering recommendations

            to the Bishop regarding the cleric' s suitability for ministry. In addition to increasing

            membership on the Board from five to seven members, Bishop Barres established a regular

            schedule of Review Board meetings and provided for an independent team of expert

            investigators to report to the Review Board prior to each scheduled meeting.6

                   B.      Independent Reconciliation and Compensation Program

                           24.     On October 16, 2017, Bishop Barres also implemented a reconciliation,

            assistance and compensation program, called the Independent Reconciliation and Compensation

            Program (the " IRCP"). The IRCP is directed at individual reconciliation and compensation

            based on the independent review by and judgment of nationally recognized fund administrators

            in other multiple-victim situations.




                   6
                       The Diocesan Policy mandates that a cleric will be removed from his assignment when
            there is a credible allegation of sexual misconduct against him. See https://www.drvc.org/wp-
            content/uploads/2018/ 12/child_protection_ manual2012.pdf.



                                                              9

                                                         10 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                       INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150              Doc 2259-3     Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                   RECEIVEDExhibit
                                                                                            NYSCEF: 05/29/2020
                                                Exhibit C Pg 12 of 24




                           25.     The Diocese chose Kenneth Feinberg and Camille Biros (the

            " Administrators") to provide independent review and neutral administration of the IRCP. Mr.

            Feinberg is known for his work as administrator of the September 11th Victim Compensation

            Fund and the Deepwater Horizon Oil Spill Trust, which resulted from the oil spill in the Gulf of

            Mexico in April 2010. He and Ms. Biros also administer similar compensation programs in the

            Archdiocese of New York, the Diocese of Brooklyn, and the Diocese of Pitts burgh, among

            others.

                           26.     Through the IRCP, Bishop Barres delegates to the Administrators the

            authority to investigate and evaluate claims of abuse survivors brought under the IRCP and to

            offer compensation to claimants who are deemed eligible. The protocols of the IRCP define the

            process by which claims are to be evaluated and eligible claimants provided with compensation

            on a confidential basis. In general, claims as to the actual occurrence and extent of sexual abuse,

            if any, are deemed eligible or ineligible for compensation based on the weight and credibility of

            the evidence, as assessed independently by the Administrators. Eligibility and compensation

            decisions are made according to a number of factors, including the nature, extent and frequency

            of the abuse, again as determined sole ly by the Administrators.

                           27.     A compensation decision cannot be contested by the Diocese if it is

            accepted by the abuse survivor. In contrast, an abuse claimant is not bound by an

            Administrators' eligibility and compensation determination unless the claimant chooses to accept

            the compensation awarded. Abuse survivors are also eligible to participate in the IRCP

            regardless of when their alleged abuse occurred. Participation in the IRCP is completely

            voluntary, and participation does not affect any rights of the abuse survivor unless and until he or

            she accepts compensation and signs a release. In addition, the Diocese has committed to a ll




                                                            10


                                                        11 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                       INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150                 Doc 2259-3    Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                     RECEIVEDExhibit
                                                                                              NYSCEF: 05/29/2020
                                                  Exhibit C Pg 13 of 24




            participants in the lRCP that their claims and associated information will remain confidential

            without regard to whether a resolution is reached. The participants, however, remain free to

            disclose or discuss their claim and/or the compensation determination of their own claim.

                              28.     As a condition of accepting the compensation offer detennined by the

            Administrators, abuse survivors under the IRCP are required to sign a release. The release states

            that the abuse survivor waives all claims or potential claims of sexual abuse against the Diocese

            and any related entities. The release is not binding unless and until the abuse survivor has

            reviewed the compensation offer with the assistance of counsel and executed the release. Before

            signing releases, all abuse survivors are required to consult with an attorney selected by the

            abuse survivor, or, if requested by the abuse survivor, an attorney provided by the Administrators

            free of charge.

                              29.     Through March 30, 2020, about 400 abuse claimants have filed claims

            with the IRCP and a total of about 320 of them have accepted compensation totaling just over

            $57 million, with about 50 claims still being processed and some offers outstanding. The Diocese

            has paid compensation to every claimant who has been deemed eligible by the Administrators

            and who has accepted the compensation offered.

                              30.     The Diocese's IRCP remains open to abuse claimants. Indeed, eleven

            plaintiffs who filed CVA actions assigned to this Court have accepted compensation through the

            IRCP and voluntarily discontinued their lawsuits against the Diocese. The Diocese currently

            plans to maintain its IRCP while it remains financially feasible. The Diocese's IRCP will end,

            however, if the Diocese files for protection pursuant to Chapter 11 of the U.S. Bankruptcy Code.




                                                              11


                                                          12 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                       INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150               Doc 2259-3     Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                    RECEIVEDExhibit
                                                                                             NYSCEF: 05/29/2020
                                                 Exhibit C Pg 14 of 24




            ill.    THE ADVERSE IMPACT OF THE CVA LITIGATION ON THE DIOCESE'S
                    FINANCIAL CONDITION

                    A.      The Diocese's Mounting Expenses in the CVA Litigation

                            31.     As this Court is aware, on February 14, 2019, New York Governor

            Andrew Cuomo signed the CVA into law. The CVA, by its tenns, extends the statute of

            limitations under which certain crim inal and civil actions arising out of the sexual abuse of

            minors may be brought. The CV A also purports to revive certain previously time-barred causes

            of action. Revived actions may be commenced during the twelve-month period that runs from

            August 14, 2019 through August 14, 2020, and Governor Cuomo recently signed an Executive

            Order extending the revival period for an additional five months.

                           32.      As set forth below, so far, during this window, the Diocese has incurred

            and will continue to incur substantial and increasing litigation expenses, while facing potential

            exposure to plaintiffs in the hundreds of m illions of dollars.

                   (a)     Overview ofCVA Cases Brought Against the Diocese

                           33.      Starting on August 14, 2019, civil actions were commenced against the

            Diocese and certain of its Parishes in the Supreme Court of the State of New York alleging

            sexual abuse that, but for the passage of the CV A, would have been time barred (the "Revived

            Abuse Cases").7 As of time of the filing of this motion, there have been a total of approximately

            106 cases filed against the Diocese, with a pproximately 91 filed in this Court, approximately 15

            filed in the New York City CVA Regional Court, and one case (originally filed in Kings County)

            removed to federal district court.




                   7  There was one case commenced before August 14, 2019. Upon consent of the plaintiff,
            this case was stayed until August 14, 2019.



                                                              12


                                                          13 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                       INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150              Doc 2259-3     Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                   RECEIVEDExhibit
                                                                                            NYSCEF: 05/29/2020
                                                Exhibit C Pg 15 of 24




                           34.     In this Court, in September, 2019, given the high number of cases (46)

            then pending against the Diocese (and which have since almost doubled), the Diocese sought,

            pursuant to CPLR 602, an order providing for pre-trial proceedings in all of the CVA actions in

            which the D iocese is named as a defendant. This Court granted the Diocese's motion on

            November 19, 2019, issuing a Case Management Order ("CMO"), "applicable to all cases filed

            pursuant to CPLR 214-g where the Diocese is a named party-defendant in the Ninth and Tenth

            Judicial Districts." Opinion & Order at 1. The CMO states that " [i]t is in the interest ofjustice

            to encourage and bring about the fair, expedient and inexpensive resolution of these cases." The

            CMO provides for "coordination of motions practice," as well as discovery and pretrial

            conferences, among other procedures to streamline the administration of all the cases.

                           35.     In accordance with the CMO, the Diocese fi led two separate sets of

            motions to dismiss pursuant to CPLR 3211 (a)(5) and (a)(7); the first on November 12, 2019, in

            44 cases, and the second on January 10, 2020, in 22 cases. This Court has issued its orders

            denying the first set of motions to dismiss as to the Due Process ground asserted by the Diocese,

            and from which the stay pending appeal from those orders is sought by this motion. The second

            set of motions to dismiss is not yet fully briefed. There also remain approximately 22 cases in

            this Court where the Diocese has not yet moved to dismiss because its response to the complaints

            is not yet due. All these cases brought against the Diocese will raise the identical issue of

            whether the claim revival provision of the CVA violates the Diocese' s right to due process of

            law under the New York State Constitution.

                           36.     There are also currently approximately 13 cases pending before J. Silver

            as the CV A Regional Court for all of the boroughs in New York City. Justice Silver entered

            Case Management Order No. 1 on February 24, 2020. Pursuant to that CMO, on May 8, 2020




                                                             13


                                                        14 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                      INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150               Doc 2259-3    Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                   RECEIVEDExhibit
                                                                                            NYSCEF: 05/29/2020
                                                Exhibit C Pg 16 of 24




            the Diocese moved to dismiss those 13 CVA cases on substantially the same constitut ional and

            other grounds as in this Court. The CMO in the New Yark City CVA Regional Court provides

            for a stay of discovery while those motions to dismiss are pending. See CMO No. 1, Section

            VII.10.

                      (b)   Expenses Incurred By the Diocese Thus Far In the CVA Litigation And
                            Projected Litigation Expenses

                            37.     In the course of defending the CVA actions brought against it, the Diocese

            has spent more than $3.7 million to date.

                            38.     The Diocese expects that continuing to defend these actions and conduct

            discovery in them will cost hundreds of thousands of dollars in legal fees and production costs

            per month. Preparing the cases for possible summary judgment motions, and then trial, will

            compound the legal fees that the Diocese would incur.

                            39.     Pursuant to the CMO, parties in the Ninth and Tenth District cases began

            exchanging requests for the information called for in the Standard Consolidated Disclosures in

            January 2020. Plaintiffs' Standard Consolidated Disclosures directed to the Diocese are made up

            of 24 requests for production and ten interrogatories in each case. As a result, the Diocese faces

            more than 1,000 broad and voluminous requests for production and hundreds of detailed

            interrogatories across these cases. Pursuant to the CMO, the Diocese began serving its responses

            and objections to Plaintiffs' Standard Consolidated Disclosures directed to the Diocese in March

            2020. The Diocese incurred considerable expense to investigate the information required to

            respond to Plaintiffs' Standard Interrogatories and the documents available to the Diocese that

            may be produced in these matters. The Diocese continues to incur these expenses as additional

            Plaintiffs serve requests for Standard Consolidated Disclosures in each of the remaining cases

            proceeding in the N inth and Tenth Judicial Districts. And, in connection with its CVA cases in



                                                            14


                                                        15 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                          INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150               Doc 2259-3     Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                    RECEIVEDExhibit
                                                                                             NYSCEF: 05/29/2020
                                                 Exhibit C Pg 17 of 24




            this Court, the Diocese has already produced thousands of pages related to its insurance coverage

            and its financial condition.

                            40.     Absent a stay pending the Diocese's appeal from the Court's order

            denying its motions to dismiss, the Diocese will be required to gather and organize hundreds of

            thousands of pages of documents spanning a period of almost 50 years, hire and train a contract

            attorney review team, and produce documents to nearly 100 different Plaintiffs in the coming

            weeks and months. The Diocese will also be faced with taking and defending dozens of party

            and non-party depositions, and to incur attendant legal and vendor fees. This discovery process

            is going to be particularly challenging and expensive due to the passage of time since the alleged

            claims arose.

                            41.     After expending what will become additional millions of dollars to

            continue to defend these actions through discovery, the Diocese will also be faced with

            evaluating each case on the basis of the record to determine which cases are ripe for summary

            judgment motions and then preparing those motions. Finally, for those cases that are not

            disposed through summary judgment or other pre-trial motions, the Diocese will be forced to

            expend hundreds of thousands of dollars to defend itself at trial.

                   B.       Lack of Payments By Insurers For The CVA Litigation

                            42.     As shown above, as a consequence of the CVA' s passage, claims of sexual

            abuse that allegedly occurred decades ago have now been asserted against the Diocese. The

            Diocese has acted to identify and preserve insurance policies in effect when such abuse allegedly

            occurred, including, at various points, first, second, and additional levels of coverage.

                            43.     In the period leading up to the effective date of the CVA, the Diocese

            expended substantial effort to pull together insurance policies and secondary evidence of

            insurance coverage from the late 1950s to the present. Due to the passage of time and the


                                                             15


                                                         16 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                          INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150              Doc 2259-3      Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                    RECEIVEDExhibit
                                                                                             NYSCEF: 05/29/2020
                                                 Exhibit C Pg 18 of 24




            disposal of documents in the ordinary course of business, several documents regarding coverage

            were no longer available in the files. Accordingly, among other measures, the Diocese engaged

            insurance coverage counsel at Reed Smith to assist the Diocese in finding relevant insurance

            policies covering what are in many cases decades-old claims. Among the sources searched in

            connection with this effort were court dockets for litigation between the Diocese and Royal

            Insurance Company in the early 1990s, which is how the Diocese was able to uncover pertinent

            insurance policies issued by this carrier from approximately 1960 to 1976. These insurance

            policies obligate Royal to defend and indemnify the Diocese and its parishes and affiliated

            entities for liability on account of bodily injury during their respective policy periods. The

            Diocese has also made claims for insurance coverage under what was known as the "Bishop's

            Program," a series of umbrella and excess insurance policies covering the period from 1976 to

            1986.

                           44.     Reed Smith has also interacted with the Diocese' s insurance companies.

            The Diocese, Jones Day, and Reed Smith have met with representatives of all of the relevant

            insurance companies. In addition, Reed Smith has corresponded with the insurance companies

            in an effort to ensure that the carriers meet their full obligations under their insurance policies.

                           45.     However, as of the time of this motion, despite ongoing discussions with

            the Diocese, the Diocese's insurers have reserved their rights and have not paid anything toward

            the Diocese's litigation expenses or agreed to indemnify the Diocese for any liability

            determinations.

                    C.     Potential Liabilities If Claims Are Litigated To Judgment Successfully And
                           Unavailability Oflnsurance Coverage For Punitive Damages

                           46.     Without the proceeds from the Diocese's insurance coverage-that, to

            date, have not been forthcoming-to reimburse the Diocese's litigation expenses for the CYA



                                                              16


                                                          17 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                        INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150              Doc 2259-3      Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                    RECEIVEDExhibit
                                                                                             NYSCEF: 05/29/2020
                                                 Exhibit C Pg 19 of 24




            lawsuits, the Diocese does not have the assets to satisfy adverse judgments in an appreciable

            number of the CVA lawsuits brought against it. And, notably, insurance would not cover any

            punitive damages awards against the Diocese. Currently, there are a total of approximately 94

            CVA actions pending against the Diocese, alleging various claims and seeking damages against

            the Diocese. Approximately 79 of those cases seek punitive damages against the Diocese. In

            this Court, there are approximately 80 CVA lawsuits pending against the Diocese and

            approximately 66 of those seek punitive damages.

                           47.     In contrast to the IRCP, these CVA cases threaten the Diocese's long-term

            viability, and, without insurance coverage, it does not have the resources to satisfy judgments for

            the plaintiff in an appreciable number of them. For example, one plaintiff whose case is pending

            in this Court demanded in the course of a settlement discussion over $35 million, which was

            allocated by plaintiff's counsel in the amounts of $10 m illion for the alleged abuse, $10 million

            in claimed lost wages, and $15 million in sought-after punitive damages. Other individual

            Plaintiffs have informed the Diocese in recent discovery responses that in their cases, they are

            seeking tens of millions in compensatory damages and hundreds of millions of dollars in punitive

            damages.

                           48.     Given the approximately 94 pending cases against the Diocese, more than

            80% of which include demands for punitive damages, the Diocese simply does not have the

            resources--as explained further in Part V-should plaintiffs prevail in an appreciable number of

            these lawsuits, to satisfy the ensuing judgments.

            IV.    THE EFFECT OF THE PANDEMIC ON THE DIOCESE'S REVENUES

                           49.     The COVID-19 pandemic has provided further and extraordinary pressure

            on the Diocese's financial condition. As the Court is aware, the COVID-19 pandemic and

            resulting precautions taken to mitigate its impact have led to the closing of all parishes, schools


                                                             17


                                                         18 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                            INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150               Doc 2259-3     Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                    RECEIVEDExhibit
                                                                                             NYSCEF: 05/29/2020
                                                 Exhibit C Pg 20 of 24




            and non-essential businesses for a still-indefinite period, massive loss ofjobs, a downturn in the

             stock market, as well as uncertainty as to the region's overall economic prospects. The

            pandemic has had a particularly devastating impact on the Diocese.

                           50.      The Diocese receives a portion of its income from the Parishes' offertory

            collections. This share of the parish 's collection, or assessment on the parish, typically

            represents approximately 40% of the Diocese's annual revenue. In the second half of March

            2020, after masses and other church gatherings ceased to occur due to the pandemic, the parish

            assessment payments to the Diocese declined 77% compared to the first half of March. For the

            two week period from March 23 to April 3, 2020, the Diocese did not receive any deposits

            related to Parish assessment. During the month of April 2020, despite the month containing

            Holy Week and Easter Sunday, with continued fundraising efforts and the availability of

            televised masses, the Diocese collected from parishes only approximately $363,000, down

            approximately 60% from the average of the prior 10 months. Like many organizations impacted

            by the pandemic, the precipitous drop in revenues received has placed enormous additional

            financial pressures on the Diocese and its Parishes and schools.

                           51 .     As of the date of executing this Affidavit, the Diocese is taking steps to

            gradually re-convene at least some masses, in compliance with governmental directives and

            health standards. This requires significant re-working of customary practices. The scope and

            timing of this re-opening effort will also vary in parishes across the Diocese on the basis of,

            among other things, local conditions at individual parishes and their practical ability to

            implement revised practices.




                                                              18


                                                         19 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                             INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150               Doc 2259-3      Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                     RECEIVEDExhibit
                                                                                              NYSCEF: 05/29/2020
                                                  Exhibit C Pg 21 of 24




            V.      CONTINUING WITH THE CVA LITIGATION THROUGH TO TRIAL
                    PRESSURES THE DIOCESE TO FILE FOR BANKRUPTCY

                    A.      The Diocese's Potential Liabilities Due To The CVA Litigation Far Exceed
                            Its Assets And Its Current Financial Condition Is Dire

                            52.     In light of the developments described above, it is not surprising that there

            is a significant detrimental change in the Diocese's financial condition from 2018 and 2019 fiscal

            years (which end in August of each year) to the present.

                            53.     In fiscal year 2019, ended August 31, 2019, the Diocese had

            approximately $27 million in revenue. As described above, the Diocese's revenue comes from

            several sources, including: (i) a share of the weekly offertory made by the faithful at every

            Parish, (ii) other bequests and donor-directed gifts, (iii) investment income, (iv) revenue for

            administrative services provided to Diocesan affiliates, including the parishes, and (v) revenues

            from the Diocese's sublease to third parties of a portion of the spectrum within its educational

            broadcast license, among others.

                            54.     The Diocese's expenses, meanwhile, have far outpaced its revenues in

            light of the recent pressures brought to bear on it. In fiscal year 2019, the Diocese had total

            expenses of approximately $29 million. The Diocese's expenses fall into the following main

            categories: (i) payroll and benefits, (ii) professionals and contractors, (iii) rent, facilities, and

            utilities, (iv) grants, (v) contributions, (vi) IRCP-related expenses, and (vii) professional fees,

            among others.

                            55.     While the Diocese had approximately $82 million in unrestricted assets at

            the end of fiscal year 2019, it experienced a total change in net unrestricted assets of

            approximately negative $ 10.2 million during fiscal year 2019. At this time, in fiscal year 2020,

            the Diocese is expected to experience a total change in net unrestricted assets of approximately

            negative $15 .2 million. These total changes in net unrestricted assets demonstrate the extent of


                                                                19


                                                           20 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                          INDEX NO. 900010/2019
              20-12345-mg
NYSCEF DOC. NO. 150               Doc 2259-3     Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                    RECEIVEDExhibit
                                                                                             NYSCEF: 05/29/2020
                                                 Exhibit C Pg 22 of 24




            the Diocese's financial difficulties at this time, even after undertaking significant cost reduction

            measures.

                            56.     As detailed above, the Diocese's current financial condition is further

            deteriorating due to the Diocese's litigation expenses incurred in defending against the CVA

            litigation. As noted, cash spent by the Diocese on CVA-related litigation currently exceeds $3.7

            million and is projected to cost hundreds of thousands of dollars on a monthly basis if

            individualized discovery were to proceed in these cases pending the Diocese's appeal from the

            Court' s order on the motions to dismiss. The Diocese's insurance carriers have thus far not

            provided reimbursements for these mounting expenses. The situation is further aggravated by

            the COVID-19 pandemic's impact on the Diocese and its parishes.

                    B.      The Prospect of a Bankruptcy Filing in the Absence of a Stay

                            57.     In light of its financial condition, the Diocese will not be able to satisfy

            judgments against it in an appreciable number of the CV A lawsuits brought against it absent

            insurance coverage; and, even if and when the Diocese obtains insurance proceeds on their

            available policies, they cannot cover punitive damages. By contrast, the Diocese has provided

            compensation and reconciliation to hundreds of survivors of clergy sexual abuse through the

            lRCP and has thus far paid compensation to every victim who has been deemed eligible for the

            IRCP by the Administrators. It is, in these current circumstances, neither consistent with the

            Diocese' s approach to treat all abuse claimants fairly nor practicable for the Diocese to continue

            to litigate these actions through pre-trial discovery and then to trial.

                            58.     Because the Diocese's insurance carriers have not to date reimbursed the

            Diocese's litigation expenses for the CVA cases-and due to the unavailability of insurance

            coverage for punitive damages-the Diocese will, absent a stay pending its appeal from the

            Court' s order on the motion to dismiss, be faced with the reality of filing for protection pursuant


                                                              20

                                                          21 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                                      INDEX NO. 900010/2019
             20-12345-mg
NYSCEF DOC. NO. 150              Doc 2259-3    Filed 07/05/23 Entered 07/05/23 11:32:38
                                                                                 RECEIVEDExhibit
                                                                                          NYSCEF: 05/29/2020
                                               Exhibit C Pg 23 of 24




            to Chapter 11 of the U.S. Bankruptcy Code. The alternative-incurring ever-increasing

            expenses for discovery and to defend itself through trial in scores of lawsuits-is not practicable

            for the Diocese in light of the Diocese's current financial condition, exacerbated by the COVID-

            19 pandemic, the stance adopted by its insurers, the unavailability of insurance coverage for

            punitive damages, and the sheer number of CVA lawsuits brought against the Diocese.

                           59.     While the Diocese seeks to avoid having to file for bankruptcy protection,

            it would not be the first in this State. Already two other dioceses in New York State-the

            Diocese of Rochester and the Diocese of Buffalo-have filed bankruptcy petitions as a direct

            result of pressures on their financial condition brought to bear by having to defend against large

            numbers ofCVA lawsuits. See In re Diocese ofRochester, No. 19-20905 (Bankr. W.D.N.Y.

            Sept. 12, 2019); In re Diocese of Buffalo, No. 20-1009 (Bankr. W.D.N.Y. Feb. 28, 2020).




                                                            21


                                                       22 of 23
FILED: NASSAU COUNTY CLERK 05/29/2020 02:15 PM                                           INDEX NO. 900010/2019
NYSCEF DOC. NO.20-12345-mg
                150           Doc 2259-3   Filed 07/05/23 Entered 07/05/23 11:32:38  Exhibit
                                                                               RECEIVED NYSCEF: 05/29/2020
                                           Exhibit C Pg 24 of 24




             Dated: May 28, 2020




                                                              CHARLES MOORE




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                                                        NOTARY PUBLIC· STATE OF MICHIGAN
                                                               COUNTY OF WAYNE
                                                       My Commission Expires N embe 19, 2025
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                                                 23 of 23
